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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS

------------------------------------------------------------------------x
 Joselyn Oigbokie
 individually and on behalf of all others similarly situated,

                            Plaintiff,


                                                                              Case No.: 1:21-cv-2626


           -against-

 Recovery Management Services, Inc.;
 and John Does 1-25.
                            Defendant(s).
------------------------------------------------------------------------x

                                         NOTICE OF SETTLEMENT

          Notice is hereby given that the parties have settled this matter. The parties anticipate

completing settlement documents and filing a dismissal with the Court within the next sixty (60)

days. The parties request that the Court retain jurisdiction of this case during said sixty (60) day

period.



DATED, this 16th day of August, 2021                          Respectfully Submitted,


                                                              /s/ Yaakov Saks
                                                              Yaakov Saks
                                                              Stein Saks, PLLC
                                                              One University Plaza
                                                              Hackensack, NJ 07601
                                                              Phone: 201-282-6500
                                                              ysaks@steinsakslegal.com
                                                              Attorney for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
on August 16, 2021 with the Clerk of Court using CM/ECF. I also certify that the foregoing
document is being served this day on all counsel of record or pro se parties identified on the Service
List below either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing.



                                                              /s/ Yaakov Saks
                                                              Yaakov Saks




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